Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 1 of 7




                   Exhibit A
    Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 2 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re Application of Vale S.A., Vale Holdings
 B.V., and Vale International S.A. for an Order      Case No. 20-mc-199-JGK-OTW
 Pursuant to 28 U.S.C. § 1782 to Conduct
 Discovery for Use in Foreign Proceedings




  NOTICE OF RULE 30(b)(6) DEPOSITION OF PERFECTUS REAL ESTATE CORP.


               PLEASE TAKE NOTICE that, pursuant to Rules 26 and 30 of the Federal Rules

of Civil Procedure, Vale S.A., Vale Holdings B.V., and Vale International S.A. (collectively,

“Vale”), by their undersigned counsel Cleary Gottlieb Steen & Hamilton LLP, will take the

deposition upon oral examination of Perfectus Real Estate Corp., 555 Madison Avenue, 5th

Floor, New York, NY 10022, (“Perfectus”) in this matter. By agreement of the parties, the

deposition will begin at 7:00 a.m. EST on February 2, 2022, and will be conducted remotely by

videoconference or at such other time or location as may be agreed upon by the parties. By

further agreement of the parties, Perfectus has designated Gregg Blackstock as its Rule 30(b)(6)

representative, and he shall appear for deposition at the Milan Office of Cleary Gottlieb Steen &

Hamilton LLP/Cleary Gottlieb Steen & Hamilton Studio Legale, Via S. Paolo, 7, 20121 Milano

MI, Italy. The deposition will continue from day to day thereafter until concluded or adjourned.


               The deposition shall be under oath, shall be taken before a court reporter or other

person authorized to administer oaths, and will be conducted in accordance with the Federal

Rules of Civil Procedure. The deposition will be recorded by stenographic means.
      Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 3 of 7




               Pursuant to Rule 30(b)(6), Perfectus shall designate one or more officers,

directors, managing agents, or other persons to testify on its behalf as to each of the matters set

forth in Schedule A.



Dated: January 19, 2022
       New York, New York



                                                      /s/ Jeffrey A. Rosenthal
                                                      Jeffrey A. Rosenthal (jrosenthal@cgsh.com)
                                                      Lisa Schweitzer (lschweitzer@cgsh.com)
                                                      Lisa Vicens (evicens@cgsh.com)
                                                      CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                                      One Liberty Plaza
                                                      New York, New York 10006
                                                      T: 212-225-2000
                                                      F: 212-225-3999

                                                      Counsel for Petitioners Vale S.A., Vale Holdings
                                                      B.V., and Vale International S.A.



TO:      Joseph Z. Hellerstein
         (jzh@hellerstein-law.com)
         Hellerstein & Co.
         11 Naftali Street, Suite 6
         Modiin, Israel 71724
         T: 561-367-2569

         Counsel for Respondent Perfectus
         Real Estate Corp.




                                                  2
    Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 4 of 7




                                          SCHEDULE A

                                          DEFINITIONS

               1.      This Schedule incorporates by reference the definitions listed in the

Subpoena for Documents served on Perfectus Real Estate Corp. (ECF No. 3-21).

                                         INSTRUCTIONS

               1.      Pursuant to Rule 30(b)(6), the person designated by You must testify

about information known or reasonably available to You.

               2.       Pursuant to Rule 30(b)(6), this Notice is supplemental to and not in lieu of

any notice of deposition that Petitioners may serve pursuant to Federal Rule of Civil Procedure

Rule 30(b)(1). This deposition does not preclude Petitioners from taking a deposition by means

of any other procedure allowed by the Federal Rules of Civil Procedure. Petitioners expressly

reserve their right to take the deposition at a later date and pursuant to Rule 30(b)(1) of the

deponent identified by You pursuant to Rule 30(b)(6).

                               MATTERS FOR EXAMINATION

               1.      The charts annexed hereto as Exhibit 1.

               2.      Perfectus’s document retention policies and the manner in which

Perfectus’s documents are presently maintained, and have been maintained in the past, including

without limitation any custodians responsible for, or who have, retained Perfectus’s documents.

               3.      Perfectus’s search for and production of documents in response to the

Subpoena for Documents served on Perfectus Real Estate Corp. (ECF No. 3-21).

               4.      Any funds paid by Vale to BSG Resources Limited (“BSGR”) that came

to be invested with or provided in any manner to Perfectus, directly or indirectly.

               5.      Perfectus’s current or former, direct or indirect real estate investments.


                                                  3
    Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 5 of 7




               6.      The current or former, direct or indirect ownership of Perfectus, including

without limitation beneficial ownership.

               7.      Perfectus’s current or former, direct or indirect relationship to Beny

Steinmetz and BSGR, or any other BSG Entities.

               8.      Perfectus’s current or former officers and directors and their direct or

indirect relationship with any BSG Entities.

               9.      The current or former, direct or indirect relationship of any member of

Beny Steinmetz’s family, or any trust for which Beny Steinmetz or a family member is a direct

or indirect beneficiary, with Perfectus or any current or former officer or director of Perfectus.

               10.     Dag Cramer’s current or former, direct or indirect relationship with

Perfectus or any current or former officer or director of Perfectus.

               11.     David Barnett’s current or former, direct or indirect relationship with

Perfectus or any current or former officer or director of Perfectus.

               12.     HFZ’s, Ziel Feldman’s, or Nir Meir’s current or former, direct or indirect

relationship with Perfectus or any current or former officer or director of Perfectus.

               13.     Perfectus’s board meeting minutes.

               14.     Perfectus’s bank records.

               15.     Perfectus’s tax returns.

               16.     Perfectus’s financial statements.




                                                   4
  Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 6 of 7




                               EXHIBIT 1

Figure 1




                                   5
   Case 1:20-mc-00199-JGK-OTW Document 125-1 Filed 01/26/22 Page 7 of 7




Figure 2




                                    6
